 Case 19-32857-hdh11
   Case               Doc
         19-32857-hdh11   188
                        Doc   Filed
                            183     09/14/19
                                Filed 09/12/19 Entered
                                                Entered09/14/19
                                                        09/12/1923:32:24
                                                                 14:57:37 Page
                                                                          Page 11 of 8
                                                                                     5




The following constitutes the ruling of the court and has the force and effect therein described.



Signed September 12, 2019
                                            United States Bankruptcy Judge
  ______________________________________________________________________
                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE NORTHERN DISTRICT OF TEXAS
                                      DALLAS DIVISION

     ------------------------------------x
     In re:                              :
                                         :                          Chapter 11
     HVI CAT CANYON, INC.,               :
                                         :                          Case No. 19-32857 (HDH)
     Debtor.                             :
     ------------------------------------x

                             ORDER GRANTING TRANSFER OF VENUE


             Pursuant to 28 U.S.C. §§ 1404, 1408, 1412 and Rule 1014 of the Federal Rules of

     Bankruptcy Procedure, and for the reasons stated on the record at the hearing on September 10,

     2019, the Court finds that it is appropriate to transfer the venue of this case to the Central District

     of California, Northern (Santa Barbara) Division. It is therefore

             ORDERED this case is transferred to the United States Bankruptcy Court for the Central

     District of California, Northern (Santa Barbara) Division; and it is further

             ORDERED that the Clerk of the United States Bankruptcy Court for the Northern District

     of Texas is authorized and directed to take all actions necessary to effectuate the transfer of this
Case 19-32857-hdh11
  Case               Doc
        19-32857-hdh11   188
                       Doc   Filed
                           183     09/14/19
                               Filed 09/12/19 Entered
                                               Entered09/14/19
                                                       09/12/1923:32:24
                                                                14:57:37 Page
                                                                         Page 22 of 8
                                                                                    5



   case to the United States Bankruptcy Court for the Central District of California, Northern (Santa

   Barbara) Division immediately.



                                            ### End of Order ###

   Agreed as to form only:

   SNOW SPENCE GREEN LLP

   By: /s/ Ross Spence
   Ross Spence
   State Bar No. 18918400
   Email: ross@snowspencelaw.com
   Carolyn Carollo
   State Bar No. 24083437
   Email: carolyncarollo@snowspencelaw.com
   2929 Allen Parkway, Suite 2800
   Houston, TX 77019
   Telephone: (713) 335-4800
   Telecopier: (713) 335-4848
   ATTORNEYS FOR COUNTY OF SANTA BARBARA,
   CALIFORNIA HARRY E. HAGEN, AS
   TREASURER-TAX COLLECTOR OF
   THE COUNTY OF SANTA BARBARA, CALIFORNIA
   AND THE SANTA BARBARA COUNTY AIR
   POLLUTION CONTROL DISTRICT


   SPENCER FANE LLP

   By: /s/ Eric M. Van Horn
   Eric M. Van Horn
   Texas Bar No. 24051465
   2200 Ross Avenue, Suite 4800 West
   Dallas, TX 75201
   Tel: (214) 750-3610
   Fax: (214) 750-3612
   Email: ericvanhorn@spencerfane.com
   ATTORNEYS FOR BUGANKO, LLC




                                                   2
Case 19-32857-hdh11
  Case               Doc
        19-32857-hdh11   188
                       Doc   Filed
                           183     09/14/19
                               Filed 09/12/19 Entered
                                               Entered09/14/19
                                                       09/12/1923:32:24
                                                                14:57:37 Page
                                                                         Page 33 of 8
                                                                                    5



   Xavier Becerra
   Attorney General of California
   Christina Bull Arndt
   Supervising Deputy Attorney General

   /s/ Mitchell E. Rishe
   Mitchell E. Rishe
   Deputy Attorney General
   ATTORNEYS FOR CALIFORNIA DEPARTMENT OF CONSERVATION,
   DIVISION OF OIL, GAS, AND GEOTHERMAL RESOURCES


   ROSS & SMITH, PC

   /s/ Judith W. Ross
   Plaza of the Americas
   700 N. Pearl Street, Suite 1610
   North Tower
   Dallas, TX 75201
   (Main) 214-377-7879
   (Direct) 214-377-8659
   Judith.ross@judithwross.com
   ATTORNEYS FOR THE CALIFORNIA STATE LANDS COMMISSION



   2¶0(/9(1< 0<(56//3

   /s/ Evan M. Jones
   400 South Hope Street, 18th Floor
   Los Angeles, CA 90071-2899
   Telephone: (213) 430-6000
   Facsimile: (213) 430-6407
   E-mail: ejones@omm.com

   and

   GIBSON DUNN
   Olivia Adendorff
   2100 McKinney Avenue, Suite 1100
   Dallas, TX 75201
   Telephone: (214) 698-3100
   Facsimile: (214) 571-2900
   ATTORNEYS FOR UBS AG, LONDON BRANCH




                                           3
Case 19-32857-hdh11
  Case               Doc
        19-32857-hdh11   188
                       Doc   Filed
                           183     09/14/19
                               Filed 09/12/19 Entered
                                               Entered09/14/19
                                                       09/12/1923:32:24
                                                                14:57:37 Page
                                                                         Page 44 of 8
                                                                                    5



   QUINN EMANUEL URQUHART &
   SULLIVAN, LLP

   By: /s/ Patricia B. Tomasco
   Patricia B. Tomasco
   State Bar No. 01797600
   Devin van der Hahn
   State Bar No. 24104047
   711 Louisiana, Suite 500
   Houston, Texas 77002
   Telephone: 713-221-7000
   Facsimile: 713-221-7100
   Email: pattytomasco@quinnemanuel.com
          devinvanderhahn@quinnemanuel.com
   -and-

   Peter Calamari
   QUINN EMANUEL URQUHART &
   SULLIVAN, LLP
   51 Madison Avenue, 22nd Floor
   New York, New York 10010
   Telephone: 212-849-7000
   Facsimile: 212-849-7100
   Email: petercalamari@quinnemanuel.com
   ATTORNEYS FOR GIT, INC



   WELTMAN & MOSKOWITZ, LLP

   By: /s/ Richard E. Weltman
   RICHARD E. WELTMAN
   270 Madison Avenue, Suite 1400
   New York, New York 10016
   (212) 684-7800
   PROPOSED ATTORNEYS FOR DEBTOR/DEBTOR IN POSSESSION




                                             4
Case 19-32857-hdh11
  Case               Doc
        19-32857-hdh11   188
                       Doc   Filed
                           183     09/14/19
                               Filed 09/12/19 Entered
                                               Entered09/14/19
                                                       09/12/1923:32:24
                                                                14:57:37 Page
                                                                         Page 55 of 8
                                                                                    5



   PACHULSKI STANG ZIEHL & JONES LLP

   /s/Robert J. Feinstein
   Robert J. Feinstein, Esq. (admitted pro hac vice)
   Steven W. Golden, Esq. (TX Bar No. 240996681)
   780 Third Avenue, 34th Floor
   New York, NY 10017
   Telephone: (212) 561-7700
   Facsimile: (212) 561-7777

   Jeffrey N. Pomerantz, Esq. (admitted pro hac vice)
   Maxim B. Litvak, Esq. (TX Bar No. 24002482)
   PACHULSKI STANG ZIEHL & JONES LLP
   10100 Santa Monica Blvd., 13th Floor
   Los Angeles, CA 90067
   Telephone: (310) 277-6910
   Facsimile: (310) 201-0760
   PROPOSED COUNSEL TO THE
   OFFICIAL COMMITTEE OF UNSECURED CREDITORS




                                                  5
      Case 19-32857-hdh11 Doc 188 Filed 09/14/19              Entered 09/14/19 23:32:24         Page 6 of 8
                                      United States Bankruptcy Court
                                       Northern District of Texas
In re:                                                                                  Case No. 19-32857-hdh
HVI Cat Canyon, Inc.                                                                    Chapter 11
         Debtor
                                        CERTIFICATE OF NOTICE
District/off: 0539-3           User: cecker                 Page 1 of 3                   Date Rcvd: Sep 12, 2019
                               Form ID: pdf013              Total Noticed: 49


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Sep 14, 2019.
db             +HVI Cat Canyon, Inc.,    c/o Capitol Corporate Services, Inc.,     36 S. 18th Avenue,    Suite D,
                 Brighton, CO 80601-2452
aty            +Alan H. Katz,    Locke Lord LLP,    200 Vesey Street, 20th Floor,    New York, NY 10281-1006
aty            +Brian L Holman,    Musick, Peeler & Garrett LLP,    One Wilshire Building,
                 624 S. Grand Avenue, Suite 2000,     Los Angeles, CA 90017-3321
aty            +Carolyn V Carollo,    Snow Spence Green LLP,    2929 Allen Parkway,    Suite 2800,
                 Houston, TX 77019-7125
aty            +Daniel L. Cantor,    O’Melveny & Myers LLP,    7 Times Square,    New York, NY 10036-6524
aty            +Darren L. Patrick,    O’Melveny & Myers LLP,    400 South Hope Street, 18th Floor,
                 Los Angeles, CA 90071-2830
aty            +Gary Svirsky,    O’Melveny & Myers LLP,    Times Square Tower,    7 Times Square,
                 New York, NY 10036-6524
aty            +Ira S. Greene,    Squadron, Ellenoff, Plesent, et al,     551 Fifth Ave.,
                 New York, NY 10176-0001
aty            +Jeffrey N. Pomerantz,    Pachulski Stang Ziehl & Jones LLP,
                 10100 Santa Monica Blvd., 13th Floor,     Los Angeles, CA 90067-4003
aty            +Jennifer Taylor,    O’Melveny & Myers LLP,    Two Embarcadero Center,     28th Floor,
                 San Francisco, CA 94111-3823
aty            +Matthew C. Heyn,    Klee, Tuchin, Bogdanoff & Stern LLP,     1999 Avenue of the Stars,
                 39th Floor,    Los Angeles, CA 90067-6049
aty            +Patricia Tomasco,    Quinn Emanuel Urquhart & Sullivan,     711 Louisiana St.,    Suite 500,
                 Houston, TX 77002-2721
aty            +Robert J. Feinstein,    Pachulski Stang Ziehl & Jones LLP,     780 Third Ave., 34th Floor,
                 New York, NY 10017-2024
aty            +Ross Spence,    Snow Spence Green LLP,    2929 Allen Parkway,    Suite 2800,
                 Houston, TX 77019-7125
aty            +Ruth Stoner Muzzin,    Friedman & Springer Water LLP,     350 Sansome Street,    Suite 210,
                 San Francisco, CA 94104-1306
aty            +Samantha M. Indelicato,    O’Melveny & Myers LLP,    Times Square Tower,     7 Times Square,
                 New York, NY 10036-6524
aty            +Sheryl P Giugliano,    Diamond McCarthy LLP,    295 Madison Avenue,    27th Floor,
                 New York, NY 10017-6417
aty            +Vadim J. Rubinstein,    Loeb & Loeb LLP,    345 Park Avenue,    New York, NY 10154-1895
aty            +Weltman & Moskowitz, LLP,    270 Madison Ave., Ste. 1400,     New York, NY 10016-0603
cr             +BUGANKO, LLC,    2200 Ross Avenue,    Suite 4800 West,    Dallas, TX 75201-2708
cr             +Buganko,   930 Truxtun Avenue, Suite 102,     Bakersfield, CA 93301-4700
cr             +California State Lands Commission,     Richard D. Nobles,    100 Howe Ave Suite 100 S,
                 Sacramento, CA 95825-8219
intp           +County of Santa Barbara, California,     c/o Ross Spence,    Snow Spence Green LLP,
                 2929 Allen Parkway, Suite 2800,     Houston, TX 77019-7125
cr             +Department of Conservation, Division of Oil, Gas a,     c/o California Department of Justice,
                 Office of the Attorney General,     300 S. Spring Street,    Suite 1702,
                 Los Angeles, CA 90013-1256
cr             +Direct Energy Business Marketing, LLC d/b/a Direct,     c/o McDowell Hetherington LLP,
                 Attention: Jarrod B. Martin,     1001 Fannin, Suite 2700,    Houston, TX 77002-6736
cr             +Epiq Corporate Restructuring, LLC Claims Agent,     (f/k/a Bankruptcy Services LLC),
                 777 Third Avenue, 12th Floor,     New York, NY 10017,    www.epiqglobal.com 10017-1302
intp           +Harry E. Hagen, as Treasurer-Tax Collector of the,     c/o Ross Spence,     Snow Spence Green LLP,
                 2929 Allen Parkway, Suite 2800,     Houston, TX 77019-7125
intp           +Santa Barbara Air Pollution Control District,     c/o Ross Spence,    Snow Spence Green LLP,
                 2929 Allen Parkway, Suite 2800,     Houston, TX 77019-7125
18721022       +Bradley Land Company,    co Musick, Peeler & Garrett LLP,     One Wilshire Building,
                 624 S. Grand Avenue, Suite 2000,     Los Angeles, CA 90017-3321
18718715       +Buganko LLC,    c/o Eric M. Van Horn,    SPENCER FANE LLP,    2200 Ross Avenue, Suite 4800 West,
                 Dallas, TX 75201-7901
18708708       +County of Santa Barbara, CA,     c/o Snow Spence Green LLP,    2929 Allen Parkway, Ste. 2800,
                 Houston, TX 77019-7125
18721602       +Diamond McCarthy LLP,    co Allen B. Diamond,    909 Fannin, Ste. 3700,     Houston, TX 77010-1049
18722478       +Direct Energy Business Marketing, LLC,     dba Direct Energy Business,
                 co McDowell Hetherington LLP.,     1001 Fannin, Suite 2700,    Houston, TX 77002-6736
18722476       +Direct Energy Business, LLC,     co McDowell Hetherington LLP.,    1001 Fannin, Suite 2700,
                 Houston, TX 77002-6736
18718713       +GIT Inc.,    c/o Patricia B. Tomasco,    Devin van der Hahn,
                 Quinn Emanuel Urquhart & Sullivan, LLP,     711 Louisiana, Suite 500,
                 Houston, Texas 77002-2721
18718714       +GIT Inc.,    c/o Peter Calamari,    Quinn Emanuel Urquhart & Sullivan, LLP,
                 51 Madison Avenue, 22nd Floor,     New York, New York 10010-1603
18708709       +Harry Hagen,Treasurer and Tax Collector,     Santa Barbara County,    c/o Snow Spence Green LLP,
                 2929 Allen Parkway, Ste. 2800,     Houston, TX 77019-7125
18706156       +Locke Lord LLP,    Attorneys for CTS Properties, Ltd.,     200 Vesey Street,
                 New York, NY 10281-1006
18706154       +OMELVENY & MYERS LLP,    Attorneys for UBS AG, London Branch,
                 400 South Hope Street, 18th Floor,     Los Angeles, CA 90071-2830
        Case 19-32857-hdh11 Doc 188 Filed 09/14/19                           Entered 09/14/19 23:32:24                Page 7 of 8



District/off: 0539-3                  User: cecker                       Page 2 of 3                          Date Rcvd: Sep 12, 2019
                                      Form ID: pdf013                    Total Noticed: 49


18708779             +Official Committee of Unsecured Creditors,    c/o Pachulski Stang Ziehl & Jones LLP,
                       780 Third Avenue, 34th Floor,   New York, NY 10017-2024
18708780             +Official Committee of Unsecured Creditors,    c/o Pachulski Stang Ziehl & Jones LLP,
                       10100 Santa Monica Blvd., 11th Floor,    Los Angeles, CA 90067-4003
18708781             +Official Committee of Unsecured Creditors,    c/o Cole Schotz P.C.,
                       301 Commerce Street,Suite 1700,    Fort Worth, TX 76102-4126
18706158             +PACHULSKI STANG ZIEHL & JONES LLP,    780 Third Avenue, 34th Floor,    New York, NY 10017-2024
18706159             +PACHULSKI STANG ZIEHL & JONES LLP,    10100 Santa Monica Blvd., 13th Floor,
                       Los Angeles, CA 90067-4003
18706152             +Quinn Emanuel Urquhart & Sullivan LLP,    Attorneys for GIT, Inc.,    711 Louisiana, Suite 500,
                       Houston, TX 77002-2721
18706153             +Quinn Emanuel Urquhart & Sullivan LLP,    Attorneys for GIT, Inc.,
                       51 Madison Avenue, 22nd Floor,    New York, New York 10010-1603
18706157             +Robert J. Feinstein, Esq.,   Richard E. Mikels, Esq.,     PACHULSKI STANG ZIEHL & JONES LLP,
                       780 Third Avenue, 34th Floor,   New York, NY 10017-2024
18708707             +Santa Barbara County Air Pollution Control Dist.,    c/o Snow Spence Green LLP,
                       2929 Allen Parkway, Ste. 2800,    Houston, TX 77019-7125

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
18706155       +E-mail/Text: ustpregion02.br.ecf@usdoj.gov Sep 12 2019 23:45:35
                 Office of the United States Trustee,   U.S. Federal Office Building,
                 201 Varick St., Room 1006,   New York, New York 10014-9449
                                                                                            TOTAL: 1

             ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
cr                Direct Energy Business, LLC,   .
aty*             +Robert J. Feinstein,   Pachulski Stang Ziehl & Jones LLP,                     780 Third Avenue, 34th Floor,
                   New York, NY 10017-2024
                                                                                                                    TOTALS: 1, * 1, ## 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Sep 14, 2019                                            Signature: /s/Joseph Speetjens

_

                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on September 12, 2019 at the address(es) listed below:
              Alan Harry Katz    on behalf of Interested Party    CTS Properties, Ltd. akatz@lockelord.com
              Allan B. Diamond    on behalf of Creditor    Diamond McCarthy LLP adiamond@diamondmccarthy.com
              Brian L. Holman    on behalf of Creditor    Bradley Land Company b.holman@musickpeeler.com
              Carolyn Virginia Carollo    on behalf of Interested Party    Santa Barbara Air Pollution Control
               District carolyncarollo@snowspencelaw.com, janissherrill@snowspencelaw.com
              Carolyn Virginia Carollo    on behalf of Interested Party    Harry E. Hagen, as Treasurer-Tax
               Collector of the County of Santa Barbara, California carolyncarollo@snowspencelaw.com,
               janissherrill@snowspencelaw.com
              Carolyn Virginia Carollo    on behalf of Interested Party    County of Santa Barbara, California
               carolyncarollo@snowspencelaw.com, janissherrill@snowspencelaw.com
              Elizabeth Mary Guffy    on behalf of Interested Party    CTS Properties, Ltd. eguffy@lockelord.com
              Eric M. Van Horn    on behalf of Creditor    BUGANKO, LLC ericvanhorn@spencerfane.com
              Evan M. Jones    on behalf of Interested Party    UBS AG, London Branch ejones@omm.com
              Ira S. Greene    on behalf of Interested Party    CTS Properties, Ltd. Ira.Greene@lockelord.com
              Jarrod Barclay Martin    on behalf of Creditor    Direct Energy Business Marketing, LLC d/b/a
               Direct Energy Business jarrod.martin@mhllp.com, lara.coleman@mhllp.com
              Jarrod Barclay Martin    on behalf of Creditor    Direct Energy Business, LLC
               jarrod.martin@mhllp.com, lara.coleman@mhllp.com
              Jeannie Kim     on behalf of Interested Party    Pacific Gas and Electric Company jkim@buchalter.com
              Kevin D. McCullough    on behalf of Interested Party    Pacific Gas and Electric Company
               kdm@romclaw.com, rdecorte@romclaw.com
              Michael D. Warner    on behalf of Creditor Committee    The Official Committee of Unsecured
               Creditors mwarner@coleschotz.com, klabrada@coleschotz.com
              Michael L. Moskowitz    on behalf of Debtor    HVI Cat Canyon, Inc. mlm@weltmosk.com,
               jg@weltmosk.com;aw@weltmosk.com
      Case 19-32857-hdh11 Doc 188 Filed 09/14/19             Entered 09/14/19 23:32:24       Page 8 of 8



District/off: 0539-3          User: cecker                Page 3 of 3                  Date Rcvd: Sep 12, 2019
                              Form ID: pdf013             Total Noticed: 49


The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system (continued)
              Mitchell Elliott Rishe    on behalf of Creditor    California Department of Conservation, Division
               of Oil, Gas & Geothermal Resources Mitchell.Rishe@doj.ca.gov
              Olivia Arden Adendorff    on behalf of Interested Party    UBS AG, London Branch
               oadendorff@gibsondunn.com, cbryant@gibsondunn.com;cfitzgerald@gibsondunn.com
              Patricia B. Tomasco    on behalf of Creditor    GIT, Inc. pattytomasco@quinnemanuel.com,
               barbarahowell@quinnemanuel.com
              Shannon Smith Thomas    on behalf of Interested Party    Pacific Gas and Electric Company
               sthomas@romclaw.com, rdecorte@romclaw.com
              Sid J. Garabato   on behalf of Creditor Epiq Corporate Restructuring, LLC Claims Agent
               rjacobs@ecf.epiqsystems.com
              Steven William Golden    on behalf of Creditor Committee    Official Committee of Unsecured
               Creditors sgolden@pszjlaw.com
              United States Trustee    ustpregion06.da.ecf@usdoj.gov
              William R. Spence    on behalf of Interested Party    County of Santa Barbara, California
               ross@snowspencelaw.com,
               donnasutton@snowspencelaw.com;janissherrill@snowspencelaw.com;brittanyDecoteau@snowspencelaw.com;
               rhondarackley@snowspencelaw.com
              William R. Spence    on behalf of Interested Party    Harry E. Hagen, as Treasurer-Tax Collector of
               the County of Santa Barbara, California ross@snowspencelaw.com,
               donnasutton@snowspencelaw.com;janissherrill@snowspencelaw.com;brittanyDecoteau@snowspencelaw.com;
               rhondarackley@snowspencelaw.com
              William R. Spence    on behalf of Interested Party    Santa Barbara Air Pollution Control District
               ross@snowspencelaw.com,
               donnasutton@snowspencelaw.com;janissherrill@snowspencelaw.com;brittanyDecoteau@snowspencelaw.com;
               rhondarackley@snowspencelaw.com
                                                                                               TOTAL: 26
